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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §                          1:14-CR-287-LY-1
                                                §
JOHN DIEGO RUEDAS                               §

                          REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

TO: THE HONORABLE LEE YEAKEL
    UNITED STATES DISTRICT JUDGE

     Before the Court is the petition of the United States Probation Office recommending that the

Court revoke Defendant’s term of supervised release. The Magistrate Court submits this Report

and Recommendation to the District Court, pursuant to 28 U.S.C. § 636(b), 18 U.S.C. § 3401(i),

and Rule 1(d) of Appendix C of the Local Court Rules of the United States District Court for the

Western District of Texas.

                               PROCEDURAL BACKGROUND

     Defendant pled guilty to possession of a firearm by a felon, in violation of 18 U.S.C.

§ 922(g)(1). On March 30, 2015, Defendant was sentenced to 77 months’ imprisonment,

followed by three years’ supervised release. Defendant’s supervision began on October 14, 2020.

     On April 15, 2021, the Probation Office filed a Petition for Warrant or Summons for

Offender Under Supervision (“Petition”). Dkt. 46. The Probation Office alleged that Defendant

violated conditions of release and sought a show-cause hearing as to why Defendant’s supervised

release should not be revoked. A warrant was issued for Defendant’s arrest. Defendant was

arrested and ordered temporarily detained at his initial appearance on April 23, 2021.



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   In the Petition, the Probation Officer alleges that Defendant violated the following conditions

of release:

                 Violation of Standard Condition No. 7: “The defendant shall
                 refrain from excessive use of alcohol and shall not purchase,
                 possess, use, distribute, or administer any controlled substance or
                 any paraphernalia related to any controlled substance, except as
                 prescribed by a physician.”

                 Violation of Special Condition: “The defendant shall submit to an
                 evaluation for substance abuse or dependency treatment as directed
                 by the probation officer, and if deemed necessary by the probation
                 officer, the defendant shall participate in a program approved by
                 the probation officer for treatment of narcotic addiction or drug or
                 alcohol dependency which may include testing and examination to
                 determine if the defendant has reverted to the use of drugs or
                 alcohol. During treatment, the defendant shall abstain from the use
                 of alcohol and any and all intoxicants. The defendant may be
                 required to contribute to the costs of services rendered
                 (copayment) in an amount to be determined by the probation
                 officer, based on the defendant’s ability to pay.”

The Petition alleges that on March 26, 2021, Defendant submitted to a random drug test that

returned positive for cannabinoids, amphetamines, and cocaine. The Petition further alleges that

Defendant submitted previous positive drug tests for cannabinoids and cocaine, on December 28,

2020, and for cannabinoids and amphetamines, on February 9, 2021. Finally, the Petition alleges

that Defendant has failed to comply with the requirement of substance abuse counseling and

missed individual sessions on January 18, February 8, and March 9 and 23, 2021.

   Defendant waived his right to a preliminary revocation hearing. Dkt. 57. On May 5, 2021,

pursuant to 28 U.S.C. Section 636(a) and 18 U.S.C. § 3401(i), the undersigned conducted a final

revocation hearing at which Defendant, his attorney, and an attorney for the United States

Government appeared. In the interests of justice, the hearing was conducted by video

teleconference due to the exigent circumstances created by the COVID-19 pandemic. Both


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parties consented to proceed by video teleconference, and Defendant, his attorney, the attorney

for the Government, and Defendant’s Probation Officer were present throughout the hearing. The

Magistrate Judge finds that the video teleconference was sufficient to assess the voluntariness of

the proceeding, Defendant’s credibility, and his understanding. Defendant consented to proceed

before a United States Magistrate Judge and pled “True” to the alleged violations.

                                FINDINGS OF THE COURT

1.     Defendant violated Standard Condition No. 7 and the Special Condition of his supervised
       release by his conduct as alleged in the Petition.
2.     Defendant received a copy of the Petition naming him; read the Petition or had it read to
       him; understood the Petition and the charges alleged against him; and had the opportunity
       to discuss the Petition and charges with his attorney.
3.     Defendant waived his right to a preliminary hearing.
4.     Defendant voluntarily gave consent to allocute before a United States Magistrate Judge.
5.     Defendant had both a factual and rational understanding of the proceedings against him.
6.     Defendant did not suffer from any physical or mental impairment that would affect his
       ability to fully understand the charges against him or the consequences of his plea.
7.     Defendant was sane and mentally competent at the time of these proceedings.
8.     Defendant was sane and mentally competent to assist his attorney in the preparation and
       conduct of his defense.
9.     Defendant understood all of his statutory and constitutional rights and desired to waive
       those rights.
10.    Defendant understood that he had the right to present evidence and to cross-examine
       witnesses at the hearing, and waived that right.
11.    Defendant waived a reading of the charges against Defendant by the Government.
12.    Defendant freely, intelligently, and voluntarily pled “True” to the violations of Standard
       Condition No. 7 and the Special Condition alleged in the Petition.
13.    The Court finds that Defendant violated Standard Condition No. 7 and the Special
       Condition of his term of supervised release to participate in a program approved by the
       probation officer for treatment of narcotic addiction, as alleged in the Petition, and that
       there is a factual basis in support of those findings.


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                                  FACTORS CONSIDERED

    The Court has considered the factors set out in Title 18, United States Code § 3583(e), which

makes reference to most of the factors set out in Title 18, United States Code § 3553(a),

specifically:1

    a. the nature and circumstances of the offense, § 3553 (a)(1);
    b. the history and characteristics of Defendant, (a)(1);
    c. the need to afford adequate deterrence to criminal conduct, (a)(2)(B);
    d. the need to protect the public, (a)(2)(C);
    e. the need to provide Defendant with needed educational or vocational training, medical
       care, or other correctional treatment in the most effective manner, (a)(2)(D);
    f. the kinds of sentence and the sentencing range recommended by the United States
       Sentencing Guidelines, policy statements and corresponding analysis, (a)(4) and (a)(5);
    g. the need to avoid unwarranted sentence disparities among defendants with similar records
       who have been found responsible for similar conduct, (a)(6); and
    h. the need to provide restitution to any victims of the offense, (a)(7).

                                   RECOMMENDATIONS

    The Magistrate Court has carefully considered all of the arguments of counsel and the

evidence presented by the parties and has taken judicial notice of the pre-sentence report, as well

as the Petition, Adjustment Summary, and Violation Conduct Computation prepared by the

Probation Office. The undersigned also has taken into account the policy statements in Chapter

Seven of the Sentencing Guidelines. Defendant’s violation is a Grade C and his criminal history

category is VI, resulting in an (advisory) guideline range of 8 to 14 months of imprisonment.

    In this case, the Magistrate Court finds most compelling the nature and circumstances of the

offense; Defendant’s history and characteristics; and the need to provide Defendant with

substance abuse counseling in the most effective manner. The Court notes that Defendant

recently obtained employment and is expecting a second child in July.


1The factors in § 3553(a)(2)(A), namely, the seriousness of offense, respect for the law, and just
punishment, were not considered by the Court.

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    In light of the factors set forth above, the undersigned recommends that Defendant’s term of

supervised release be CONTINUED. While on supervised release, Defendant shall not commit

another federal, state, or local crime, and he shall comply with all existing Conditions of Release.

                                          WARNINGS

    In writing following the Court stating on the record its recommendation in this case, the

parties waived the fourteen-day period in which they may file of objections to this Report and

Recommendation. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140 (1985); Douglas

v. United Servs.’ Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc). Accordingly, there will be

no objections to this Report and Recommendation, and the matter is ripe for the District Court to

act on it.

    SIGNED on May 5, 2021.


                                                     SUSAN HIGHTOWER
                                                     UNITED STATES MAGISTRATE JUDGE




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